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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION


   GERARDO DE JESUS MATUTE-SANTOS,
                                                                             Case No. 8:06-CV-793-T-30TBM
            Petitioner,                                                               8:04-CR-246-T-30TBM

   vs.

   UNITED STATES OF AMERICA,

            Respondent.
                                                           /

                                                         ORDER

            Petitioner has filed a Notice of Appeal of this Court's June 14, 2006 decision denying

   his motion for relief under 28 U.S.C. § 2255 (Dkt. 6), a request for issuance of a certificate

   of appealability pursuant to Rule 22, Fed. R. App. P.,1 and 28 U.S.C. §22532 (Dkt. 7), and

   an Application to Proceed Without Prepayment of Fees and Affidavit (Dkt. 8).

            While issuance of a COA does not require a showing that the appeal will succeed,

   see Miller-El v. Cockrell, 537 U.S. 322, 336-37 (2003), under the controlling standard, a

   petitioner must demonstrate that reasonable jurists would find the Court's assessment of

   the Petitioner’s constitutional claims debatable or wrong. See Slack v. McDaniel, 529 U.S.


            1
             "Certificate of Appealability. (1) In a . . . 28 U.S.C. §§ 2255 proceeding, the applicant cannot take an
   appeal unless a circuit justice or a circuit or district judge issues a certificate of appealability under 28 U.S.C.
   §§ 2253(c). If an applicant files a notice of appeal, the district judge who rendered the judgment must either
   issue a certificate of appealability or state why a certificate should not issue. . . . If no express request for a
   certificate is filed, the notice of appeal constitutes a request addressed to the judges of the court of appeals."
   Rule 22, Fed. R. App. P.
            2
             "[I]n . . . a proceeding under section 2255 . . , the final order shall be subject to review, on appeal, by
   the court of appeals for the circuit in which the proceeding is held. . . . (c)(1) Unless a circuit justice or judge
   issues a certificate of appealability, an appeal may not be taken to the court of appeals from -- . . .(B) the final
   order in a proceeding under section 2255. . . . (2) A certificate of appealability may issue . . . only if the applicant
   has made a substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c).
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   473, 484 (2000); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir. 2001). Petitioner has failed

   to make this threshold showing. See Slack, 529 U.S. at 485.

            ACCORDINGLY, the Court ORDERS that:

            1.   Petitioner's application for issuance of a certificate of appealability (CV Dkt.

                 7) is DENIED.

            2.   The Application to Proceed Without Prepayment of Fees and Affidavit (Dkt.

                 8) is DENIED.

            DONE and ORDERED in Tampa, Florida on July 18, 2006.




   Copies furnished:
   Counsel/Party of Record

   SA:jsh




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